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UNITED STATES DISTRICT COURT                                              USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                             DOCUMENT
                                                                          ELECTRONICALLY FILED
 A.P., and F.R., individually and on behalf of                            DOC #:
 N-E.P.,
                                                                          DATE FILED: 11/6/2020
                            Plaintiffs,
                                                                1:20-cv-01362 (MKV)
                     -against-
                                                                        ORDER
 NEW YORK CITY DEPARTMENT OF
 EDUCATION,

                            Defendant.

MARY KAY VYSKOCIL, United States District Judge:

       By separate order today, the Court is referring the Parties to Magistrate Judge Robert W.

Lehrburger for a settlement conference. Within three days following settlement conference, the

Parties should submit a joint letter to the Court indicating whether the conference was successful

and whether discussions remain ongoing. If the settlement conference is unsuccessful, at that

time, the Court will set a schedule for briefing Plaintiffs’ anticipated motion.



SO ORDERED

Dated: November 6, 2020
       New York, New York                             __________________________________
                                                             MARY KAY VYSKOCIL
                                                            United States District Judge




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